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 8                              UNITED STATES DISTRICT COURT

 9                        FOR THE CENTRAL DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,                   SA CR No. 8:21-cr-00097-MWF

11                Plaintiff,                     I N F O R M A T I O N

12                v.                             [18 U.S.C. § 922(o)(1): Possession
                                                 of a Machinegun]
13   VICTOR FAILLE,

14                Defendant.

15

16           The Acting United States Attorney charges:
17                                   [18 U.S.C. § 922(o)(1)]
18           On or about June 5, 2019, in Orange County, within the Central
19   District of California, defendant VICTOR FAILLE knowingly possessed a
20   machinegun, as defined in Title 18, United States Code, Section
21   921(a)(23), and Title 26, United States Code, Section 5845(b), that
22   defendant FAILLE knew to be a machinegun, namely, a Glock-type auto
23   sear/machinegun conversion device that was designed and created for
24   //
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 1   the sole purpose of converting a semi-automatic handgun into a fully-

 2   automatic machinegun.

 3                                          TRACY L. WILKISON
                                            Acting United States Attorney
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 5

 6                                          BRANDON D. FOX
                                            Assistant United States Attorney
 7                                          Chief, Criminal Division
 8                                          ARON KETCHEL
                                            Assistant United States Attorney
 9                                          Public Corruption and Civil Rights
                                            Section
10
                                            JOSHUA O. MAUSNER
11                                          Assistant United States Attorney
                                            Deputy Chief, General Crimes
12                                          Section
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